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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA,

       v.
                                                     Criminal No. 21-cr-0380 (CKK)

    BRIAN JEFFREY RAYMOND,
     Defendant.




                         MEMORANDUM OPINION AND ORDER
                                 (July 19, 2022)

        On June 17, 2022, Defendant Brian Jeffery Raymond (“Defendant” or “Mr. Raymond”)

filed his [135] Motion to Disqualify Trial Attorney Jamie Perry based in relevant part on counsel’s

involvement in directing the seizure of Defendant’s cell phone.1 More specifically, Defendant

asserts that Ms. Perry should be disqualified because: (1) she has “[p]ersonal [i]nterests and

[l]iability” at stake; and (2) due to the “[c]ompelling [n]ecessity” of her witness testimony. See

Def.’s Mot., ECF No. 135, at 15-23.2 The Government disputes both arguments propounded by



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 In connection with this Memorandum Opinion and Order, this Court considered the Defendant’s
[135] Motion to Disqualify Trial Attorney Jamie Perry (“Def.’s Mot.”) and the exhibits attached
thereto; the Government’s [139] Opposition to Defendant’s Motion (“Govt. Opp’n”), and the
exhibits attached thereto; Defendant’s [140] Reply to the Government’s Opposition (“Def.’s
Reply”); and the entire record in this case. In an exercise of its discretion, the Court finds that
holding oral argument in this action would not be of assistance in rendering a decision. See LCrR
47(f).

Also pending before this Court is Defendant’s [119] Motion to Withdraw Guilty Plea, on which
briefing has not yet been completed. That motion is based on a claim of ineffective assistance of
counsel relating in relevant part to allegations that prior counsel did not challenge the manner in
which Defendant’s cell phone was seized and did not advise Defendant appropriately before he
entered a plea whereby he waived constitutional claims arising from the alleged improper seizure
of his phone.
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  The Court references the page numbers assigned by the ECF system.
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the Defendant. As explained below, this Court focuses on Defendant’s argument that Ms. Perry

may be a witness regarding facts surrounding the execution of the warrant whereby Mr.

Raymond’s cell phone was seized. Because Defendant has shown a compelling need to call Ms.

Perry as a witness in connection with this Court’s consideration of Defendant’s motion to withdraw

his plea, this Court GRANTS IN PART and DENIES IN PART Defendant’s [135] Motion, and

orders that, at this time, Ms. Perry shall recuse herself solely from the proceedings relating to the

Defendant’s motion to withdraw his plea.

       Legal Standard

       Pursuant to Rule 3.7 of the American Bar Association (“ABA”) Model Rules of

Professional Conduct, a lawyer is not permitted to serve as an advocate at a proceeding in which

she will likely be a necessary witness, due to potential conflicts of interest. Model Rules of Prof.

Conduct R. 3.7 (2020); see also United States v. Johnson, 690 F.2d 638, 643 (7th Cir. 1982)

(finding that this rule serves several purposes including maintaining the objectivity of witnesses,

as well as avoiding the possible enhanced credibility of a government witness and any confusion

as to the role in which the witness is speaking). There must however be “a showing of compelling

need” before a defendant is entitled to call a prosecutor as a witness in a criminal matter. United

States v. Weinberger, Crim. A. No. 92-235, 1992 WL 294877, at *5 (D.D.C. Sept. 29, 1992) (citing

United States v. Robertson, 897 F.2d 1092, 1098 (11th Cir. 1990)). “Unless the prosecutor has

essential information that cannot be obtained by other means, he cannot be compelled to testify.”

Id. (citing U.S. v. Perlmutter, 637 F. Supp 1134, 1138 (S.D.N.Y. 1986)); see also United States v.

Wooten, 377 F.3d 1134, 1143 (10th Cir. 2004) (To be called as a witness, the prosecutor’s

testimony must be vital and not available from another source). “Where witnesses other than the

prosecutor can testify as to the same matters or conversations, no compelling need exists.” United



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States v. Wallach, 788 F. Supp. 739, 744 (S.D.N.Y. 1992) (citing Robertson, 897 F.2d at 1098).

       In contrast, Defendant’s “obligation to [employ] alternative means of adducing factual

testimony is not absolute.” U.S. v. Prantil, 764 F.2d 548, 551-52 (9th Cir. 1985). When weighing

the materiality of a prosecutor’s testimony, the court “must honor defendant’s constitutional rights

under the confrontation and compulsory process claims of the Sixth Amendment.” Id. at 552.

Ultimately, the district court has wide discretion over whether to allow a prosecutor to be called

as a witness. United States v. Hinkle, 492 F.2d 660, 662 (D.C. Cir. 1974).

       Discussion

       In this case, the Government asserts that it is “not a foregone conclusion” that Ms. Perry’s

testimony will be utilized in connection with Defendant’s pending motion to withdraw his plea,

which is based on a claim of ineffective assistance of counsel. Govt. Opp’n, ECF No. 139, at 13.

The Government provides one example of a “scenario” under which the Court “may elect not to

address the second Strickland prong regarding prejudice [which] would end the inquiry as to

whether the Rule 11 change of plea proceeding was tainted. . . ” Id. The Government argues

additionally that Ms. Perry’s testimony “would not be [considered] vital, and other witnesses [such

as Agent Gajkowski] [c]ould testify to the relevant information . . . [such as] the oral advice

provided by Ms. Perry, both before and during the seizure, and Ms. Perry’s written guidance to

Agent Gajkowski could be entered into the record as an exhibit.” Govt. Opp’n, ECF No. 139, at

14. The Government contends that even in circumstances where there is a “solid allegation” that

prosecutors may serve as witnesses during litigation, it is within the district court’s discretion to

disqualify a prosecutor on this basis. Govt. Opp’n, ECF No. 139, at 14; see United States v. Sattar,

314 F. Supp. 2d 279, 316 (S.D.N.Y. 2004) (noting that the court has “broad discretion”); see also

Purgess v. Shamrock, 33 F.3d 134, 144 (2d Cir. 1994) (“The disqualification of an attorney. . . is



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a matter committed to the sound discretion of the district court.”) The Government proposes

accordingly that, even if the Court determines that there are “facts known only to Ms. Perry and

not available from any other source [relating to seizure of the cell phone], such testimony . . .

would not be relevant during trial . . . [and] [a] narrowly tailored remedy, such as asking Ms. Perry

to recuse only from the proceedings relating to the motion to withdraw the plea, would account for

any [such] concerns.” Govt. Opp’n, ECF No. 139, at 14.

       In his Reply, Defendant argues that Ms. Perry is an essential witness, and in support of that

contention, Defendant points to Government Opposition, Ex. 1, ECF No. 139-1 – an email from

Ms. Perry to Agent Gajkowski relevant to how the cell phone search was conducted. Defendant

explains that “the defense should be entitled to test Agent Gajkowski’s stated reasons for taking

the actions she took, and her veracity, by calling [Ms. Perry,] the only other witness[ ] who can

complete the story of what was said on June 6, 2020[.]” Def.’s Reply, ECF No. 140, at 9-10.

Furthermore, “Ms. Perry’s recitation of her advice and conversation with [Agent] Gajkowski, and

the alleged advice Ms. Perry received from her supervisor, may be important pieces of evidence

for the Court in evaluating Agent Gajkowski’s and Agent Nelson’s actions and the reasonableness

thereof.” Id. at 10. Defendant provides a list of topics on which they intend to question Ms. Perry

including, inter alia, her “pre-warrant service advice;” what she was “told by the agents prior to

the decision to re-engage” on the warrant; what she told her supervisor about the warrant services

and advice she received; how she concluded the “re-engagement” was lawful; whether the agents

asked to delay the warrant until “a technician could be present.” Def.’s Reply, ECF No. 140, at

10. The Court agrees with Defendant that at least as to some of these inquiries, only Ms. Perry

“can fully answer these questions.” Id.

       Accordingly, the Court finds that Ms. Perry has essential information that other witnesses



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do not necessarily have, and it is probable that she would be called by Defendant as a witness

within the context of this Court’s resolution of Defendant’s motion to withdraw his plea.

Accordingly, Ms. Perry is directed to recuse herself from the proceedings relating to Defendant’s

motion to withdraw his plea. The Court finds no other recusal necessary at this time as Ms. Perry’s

testimony is limited to events that relate to the execution of the warrant and the seizure of the cell

phone, which will be addressed fully within the context of Defendant’s motion to withdraw his

plea and any related proceedings. Furthermore, having found that Ms. Perry’s status as a potential

witness is a basis for counsel’s limited recusal – within the context of this motion – this Court

declines to address Defendant’s remaining argument that Ms. Perry should be disqualified because

of alleged personal interests and potential liability. Accordingly, it is this 19th day of July 2022,

       ORDERED that Defendant’s [135] Motion to Disqualify Trial Attorney Jamie Perry is

GRANTED IN PART AND DENIED IN PART. Ms. Perry is directed to recuse herself

immediately from proceedings relating to Defendant’s motion to withdraw his plea. No other

recusal is deemed necessary at this time.



                                               _____________/s/__________________
                                               COLLEEN KOLLAR-KOTELLY
                                               UNITED STATES DISTRICT JUDGE




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